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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

                                                    )
PAULA HONEYCUTT, Individually and on                )
Behalf of All Others Similarly Situated,            )      Case No.:
                                                    )
                        Plaintiff,                  )
                                                    )
        v.                                          )      JURY TRIAL DEMANDED
                                                    )
FAIR OAKS FARMS FOOD, LLC,                          )
                                                    )
                        Defendant.                  )
                                                    )


                                 CLASS ACTION COMPLAINT

        Plaintiff Paula Honeycutt (“Plaintiff”), through her undersigned attorneys, brings this

Class Action Complaint against Defendant Fair Oaks Farms Food, LLC (“FOF” or “Defendant”),

individually and on behalf of all others similarly situated, and complains and alleges upon

personal knowledge as to herself and her own acts and experiences, and, as to all other matters,

upon information and belief, including investigation conducted by her attorneys:

                                     NATURE OF THE ACTION

        1.      Fair Oaks Farms Food, LLC charges a premium for its Milk Products1 by

prominently marketing that it treats its milk cows with extremely high levels of care, including a

representation on the label that FOF “manage[s] the herd to ensure happy, healthy, well-cared for

animals, and utilize[s] milking techniques that guarantee the cleanest milk for our dairy

products.” These representations are also prominently displayed on FOF’s website and form a

1
  Milk Products refers to every variety and size of potable milk products sold by Defendant Fair Oaks
Farms Food, LLC nationwide, in all sizes, as described herein, under the “Fair Oaks Farms” brand. The
labels of the varieties of the Milk Products are substantially identical other than their flavor and fat
content profile, and each contain the false representations discussed herein, i.e., the Animal Welfare
Claims.
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key part of the marketing surrounding the farm experience that FOF sells to tourists.

Collectively, Defendant’s false representations concerning the “care” that its cows purportedly

receive are referred to herein as “Animal Welfare Claims.”

        2.       These representations were shown to be untrue when Animal Recovery Mission, a

not-for-profit animal welfare organization out of Miami Beach, Florida, posted a pair of exposés

online detailing myriad instances of animal cruelty observed toward calves and cows at FOF.2

        3.       Animal Recovery Mission observed employees throwing, slapping, and kicking

calves and took video recordings of the conduct witnessed. Animal Recovery Mission further

witnessed young calves being starved to death, beaten with steel bars, and burned with branding

irons. In addition, Animal Recovery Mission also witnessed grown cows who could no longer

produce milk being shot and left to die, a process that sometimes took several hours. Animal

Recovery Mission also witnessed employees intentionally breaking bones in the tails of

uncooperative milk cows, forcing them to return to milking within minutes of giving birth, and

punching, stabbing, and kicking cattle while in the milking machines. This and other conduct

was released to the public in a pair of videos and written reports on June 4, 2019 and June 12,

2019.

        4.       Nonetheless, FOF has admitted that the practices witnessed by the investigator

from the Animal Recovery Mission occurred and the owner of FOF, Mike McCloskey, says that

he takes “full responsibility” for the practices at issue.3

        5.       Plaintiff and the class members she seeks to represent purchased Defendant’s

Milk Products based on Defendant’s misleading and false advertising and the labeling of their


2
  https://www.foxnews.com/us/authorities-investigate-alleged-animal-abuse-at-famous-farm, last accessed March 10,
2020.
3
  https://www.chicagotribune.com/business/ct-biz-fair-oaks-farms-alleged-animal-abuse-20190605-story.html, last
accessed March 10, 2020.


                                                      -2-
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Milk Products. Plaintiff and the class accordingly suffered an injury in fact caused by the false,

fraudulent, unfair, deceptive, and/or misleading practices set forth herein.

        6.        Plaintiff seeks relief in this action individually, and on behalf of all purchasers of

Defendant’s Milk Products, for Defendant’s fraud, breach of express and implied warranties,

negligent misrepresentation, unjust enrichment, and violations of various state consumer

protection laws discussed herein.

                                   JURISDICTION AND VENUE

        7.        This Court has original jurisdiction over this controversy pursuant to 28 U.S.C. §

1332(d), Plaintiff’s claims and the claims of the other members of the Class exceed $5,000,000

exclusive of interest and costs, and there are numerous Class members who are citizens of states

other than Defendant’s state of citizenship.

        8.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2) and (c)

because a substantial part of the events or omissions giving rise to Plaintiff and the Class’s

claims occurred in this District and because Defendant’s principal place of business lies within

this District..

                                               PARTIES

        9.        Plaintiff Paula Honeycutt is a citizen of Indiana, residing in Crown Point. Within

the past two years, Ms. Honeycutt purchased Defendant’s Milk Products from Strack & Van Til

in Indiana. Ms. Honeycutt purchased Fair Oaks Farms chocolate milk in the 1.5-liter size

approximately once a week. Prior to purchasing the milk, Ms. Honeycutt reviewed the milk’s

labels, visited Fair Oaks Farms’ tourist location, reviewed Fair Oaks Farms’ website, and relied

on Defendant’s Animal Welfare Claims stating that the milk was sourced from “happy, healthy,




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well-cared for animals, and utilize milking techniques that guarantee the cleanest milk for our

dairy products.”

       10.      Ms. Honeycutt attributed value to these promises and would not have purchased

the Milk Products, or would not have purchased them on the same terms, if she knew the truth

about Defendant’s torture and abuse of their milk cows. Should Ms. Honeycutt encounter any of

Defendant’s Milk Products in the future, she cannot rely on the truthfulness of the labels’

statements, absent corrective advertising. If Defendant takes corrective action of their treatment

of cows and correct the Milk Products’ labels, Ms. Honeycutt would consider buying the current

formulations, as she is a regular milk purchaser.

       11.      Defendant Fair Oaks Farms Food, LLC is an Indiana corporation with its

principal place of business at 964 N. 600 E., Fair Oaks, Indiana 47943. Defendant manufactures,

advertises, sells, distributes, and markets the Milk Products as alleged herein at least within the

Midwest and nationwide, including in Indiana and Illinois. Defendant manufactures, advertises,

sells, distributes, and markets the Milk Products as alleged herein nationwide, including in

Indiana. Defendant’s misleading marketing, advertising and product information concerning the

Animal Welfare Claims was conceived, reviewed, approved, and otherwise controlled from

Defendant’s Indiana headquarters. Defendant’s misleading marketing concerning the Animal

Welfare Claims was coordinated at, emanated from, and was developed at its Indiana

headquarters.      All critical decisions regarding the Animal Welfare Claims, as well as

Defendant’s treatment of its cows, were made in Indiana.          Further, Fair Oaks Farms, the

namesake farm of Fair Oaks Farms milk, is located in Indiana.




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                       FACTS COMMON TO ALL CAUSES OF ACTION

        Consumers Are Willing To Pay A Price Premium For Animal Welfare Claims

        12.     In recent years, meat and dairy manufacturers have begun making animal welfare

claims on product labels to drive more sales, or to justify charging higher prices. The reasoning

is simple: consumers deeply care whether their food comes from animals that were humanely

treated and received a high level of care and are willing to pay a price premium for food sourced

from humane farms. Defendant made the Animal Welfare Claims for this reason – to charge

inflated prices and increase unit sales of their Milk Products.

        13.     For instance, a recent survey from Technomic and the American Society for the

Prevention of Cruelty to Animals (“ASPCA”) found that: (1) 77 percent of consumers are

concerned about animal welfare as it applies to their food, (2) more than two thirds of consumers

pay some or a lot of attention to food labels regarding how the animal was raised, and (3) that

over 70 percent of retailers stocking products with humane claims report increased sales.4

        14.     In 2015, Wal-Mart, the nation’s largest seller of food products, found through its

own research that: (1) 77 percent of shoppers said they will increase their trust in a retailer that

improves the treatment of livestock and that (2) 66 percent would increase their likelihood of

shopping at a retail location that improves the treatment of livestock.5

        15.     In 2014, the American Humane Association conducted a national survey of 5,900

consumers that found that: (1) 94.9 percent of consumers were “very concerned about farm

animal welfare,” that (2) 75.7 percent of consumers “stated that they were very willing to pay

more for humanely raised meat, dairy and eggs,” and that (3) a “humanely raised” label was


4
  See https://www.grocerydive.com/news/grocery--consumers-are-willing-to-pay-a-premium-for-animal-welfare-
certifications/533852/ (last accessed March 10, 2020).
5
  See https://foxbaltimore.com/news/local/wal-mart39s-push-on-animal-welfare-hailed-as-game-changer (last
accessed March 10, 2020).


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ranked highest in importance over other common heath claims, such as “antibiotic free,”

“organic,” or “natural.”6

        16.      In an aided question, consumers responding to a survey conducted for Demeter

Communications’ 2010 SegmenTrak study were asked to consider what they would like to know

from farmers about food production that they currently do not know. More than two thirds (68

percent) indicated they wanted to know more about ways farmers “ensure animal care,” second

only to “measures used to produce safe food.”7

        17.      In 2010, a study published in the Universities Federation for Animal Welfare

found that “consumers desire high standards of animal care, even if it raises food prices.”8

        18.      Indeed, Defendant’s Milk Products sell at a sizable per-ounce mark-up to those of

its competitors, even though there is no difference in the ingredients between its milk and those

of its major competitors. For example, Defendant’s 2% reduced fat milk contains the same

ingredients found in Dean’s 2% reduced fat milk: namely milk, Vitamin A, and Vitamin D.

Defendant Made Animal Welfare Claims A Central Tenet Of The Milk Products’ Labeling

        19.      Defendant preyed on consumer desire for dairy products sourced from farms that

ensure high levels of animal welfare by making Animal Welfare Claims a central tenet of their

labeling campaign. Defendant did so while systematically abusing and torturing their dairy

cows.

        20.      Defendant makes virtually identical Animal Welfare Claims on every label of

their Milk Products.


6
  See https://www.americanhumane.org/app/uploads/2016/08/2014-humane-heartland-farm-survey.pdf (last
accessed March 10, 2020).
7
  See http://agwired.com/2010/05/03/segmentrak-solicits-consumer-opinions-on-food-production/ (last accessed
March 10, 2020).
8
  See https://www.ingentaconnect.com/contentone/ufaw/aw/2010/00000019/00000003/art00015 (last accessed
March 10, 2020).


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       21.     An example of a 1.5 Liter label of the Milk Products is displayed below. All

versions of 1.5 Liter labels of the Milk Products, including the 1.5 Liter Milk Products purchased

by Plaintiff, are substantively identical to the image depicted below:




       22.     The label states:

       At Fair Oaks Farms we take the art of dairy very seriously. On our
       family farms, we control the entire process from Our Farm to Your
       Table. We start by growing and harvesting the feed for cows to assure the
       most delicious flavored milk. We then manage the herd to ensure happy,
       healthy, well-cared for animals, and utilize milking techniques that
       guarantee the cleanest milk for our dairy products. (emphasis in the
       original)




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        23.     Defendant makes an explicit “promise” that they “ensure happy, healthy, well-

cared for animals.” However, as discussed herein, Defendant’s “promise” is a farce. Defendant’s

cows are not “happy, healthy, and well-cared for,” but are rather systematically abused and

tortured.

        24.     Additionally, prior to the Animal Recovery Mission’s exposé (and to this day),

Fair Oaks Farms prominently advertised their Animal Welfare Claims on their website as well,

noting that “From ‘Grass to Glass’ we oversee the entire process from what our cows eat to the

quality of milk that goes into our savory, nutritious products.”9 The website also stated, “We are

not only committed to educating the public about modern farming efforts, but also to protecting

the environment, caring for our animals and ensuring the highest quality products possible.”10

Consumers are urged to visit Defendant’s website right on the labels of the Milk Products, as the

front of the labels state “Visit us on the Web at fofarms.com.”

        25.     Furthermore, Defendant’s website offers a “Dairy Adventure” that purports to

show the actual lives of cows on Defendant’s farm, including an interactive movie that shows

how happy its cows are and a chance to see calves being born in Defendant’s “unique birthing

facility.”11 But, as discussed herein, Defendant’s pervasive marketing of the Milk Products is

false and misleading.

                          Defendant’s Animal Welfare Claims Are False

        26.     Between August and November 2018, Animal Recovery Mission (“ARM”), a

nonprofit animal welfare group, had an investigator visit Defendant’s flagship farm in Indiana to

see how the cows are really treated.

9
       http://web.archive.org/web/20190201204143/https://fofarms.com/things-to-explore/dairy-adventure/,  from
February 1, 2019, last accessed March 10, 2020.
10
    http://web.archive.org/web/20180925101816/http://fofarms.com/about-us from February 1, 2019, last accessed
March 10, 2020.
11
   Id.


                                                     -8-
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        27.       An ARM employee went undercover as a calf care employee at Fair Oaks Farms

– the namesake farm where Defendant sources the milk for the Fair Oaks Farm Milk Products –

between August and November of 2018. During that time, the ARM employee videotaped

systematic and horrific abuse of Defendant’s cows. Videos released by ARM documenting

Defendant’s systematic abuse of their cows can be found at https://vimeo.com/340292407 (4-

minute video) (last accessed March 10, 2020) and https://vimeo.com/340769169 (one-and-a-

half-hour video) (last accessed March 10, 2020).

        28.       ARM’s undercover employee reported (and recorded) observing the following

abuses “on a virtually daily basis”:

                 Slapping, kicking, punching, pushing, throwing and slamming calves;

                 Calves stabbed and beaten with steel rebar;

                 Calves hit in the mouth and face with hard plastic milking bottles;

                 Calves kneed in the spine;

                 Calves subjected to extreme temperatures;

                 Calves provided with improper nutrition;

                 Calves denied medical attention; and

                 Calves experiencing extreme pain and suffering, and in some cases permanent

                  injury and death.

        29.       At Fair Oaks Farms, the calves stay in filthy, overcrowded and hot conditions.

Temperature readings show that it can be well over 100 degrees inside their hutches. Dead

calves were dumped in mass grave sites by employees.12



12
     See https://www.cbsnews.com/news/after-undercover-video-exposes-animal-abuse-at-fair-oaks-farms-grocery-
store-removes-products/ (last accessed March 10, 2020).


                                                    -9-
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       30.     Supervisors and owners at the “flagship farm” were aware of the conditions and

took part in the abuse.13

       31.     In addition to the intense, systematic maltreatment and abuse of calves, Fair Oaks

Farms provides effectively no treatment or care to mature, sick, or injured cows. Cows too sick

to milk are shot with a small caliber weapon. Because the employees are not properly trained,

however, cows are left to die slow, painful deaths over the course of many hours from gunshot

wounds to the head.14

       32.     The following images are a true representation of the “care” that Defendant’s

cows actually receive:

                                Dumping Area For Dead Calves




13
  See id.
14
  See https://animalrecoverymission.org/wp-
content/uploads/2019/06/Operation_Fair_Oaks_Farms_Dairy_Adventure.pdf (last accessed
March 10, 2020).


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                          Dead Calves Being Transported




                Calf’s Head Being Stomped On By Full Weight Of Adult Man




                 Calves Left Throughout Summer In 113 Degree Temperature




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      Defendant Admits That The Animal Abuse Practices Took Place At Fair Oaks Farms

           33.      After the release of the ARM video, Fair Oaks Farm’s owner Mike McCloskey

admitted that everything depicted in the video actually occurred at Defendant’s farm.

           34.      McCloskey admitted that “after closely reviewing the released ARM video,” he

can confirm that employees at Fair Oaks Farm were “committing multiple instances of animal

cruelty and despicable judgment.” McCloskey stated that he “take[s] full responsibility for the

actions seen in the footage, as it goes against everything that we stand for in regards to

responsible cow care and comfort.” 15 (emphasis added). In other words, while the labels of

Defendant’s Milk Products promised “happy, healthy, well-cared for animals,” McCloskey

admits that Defendant failed to live up to that standard by “committing multiple instances of

animal cruelty and despicable judgment.” Nonetheless, although McCloskey stated he took “full

responsibility,” he then went on to excuse the animal abuse by blaming a few bad apples, even

though the abuse was rampant and known and approved by management.

                                        CLASS REPRESENTATIONS

           35.      Plaintiff brings this case as a class action under Federal Rule of Civil Procedure

23(b)(2) and (b)(3) on behalf of the below-defined Classes:

           National Class: All persons in the United States that purchased the Defendant’s Milk
           Products.

           Indiana Subclass: All persons that purchased Defendant’s Milk Products in the state of
           Indiana.

           36.      Collectively, the National Class and Indiana Subclass are referred to as the

“Class” or “Classes.” Excluded from the Class are Defendant, the officers and directors of the



15
     See https://fofarms.com/post/response/ (last accessed March 10, 2020).


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Defendant at all relevant times, members of their immediate families and their legal

representatives, heirs, successors or assigns and any entity in which Defendant has or had a

controlling interest. Any judge and/or magistrate judge to whom this action is assigned and any

members of such judges’ staffs and immediate families are also excluded from the Class. Also

excluded from the Class are persons or entities that purchased the Milk Products for purposes of

resale.

          37.    Plaintiff is a member of the Classes.

          38.    Defendant sells thousands, if not millions of containers of the Milk Products

throughout Indiana and the nation.               Defendant’s Milk Products are available in major

Midwestern supermarkets, including in Indiana and Illinois. It is or has at times during the Class

Period been sold online via Walmart.com and Amazon.com. Defendant made substantially

identical Animal Welfare Claims online as those made on the Milk Products’ labels.16

Accordingly, members of the Class are so numerous that their individual joinder herein is

impracticable.     The precise number of Class members and their identities are unknown to

Plaintiff at this time but may be determined through discovery. Class members may be notified

of the pendency of this action by mail and/or publication through the distribution records of

Defendant, third party retailers, and vendors.

          39.    Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to, whether the Milk Products are misbranded, and whether the

labeling, marketing and promotion of the Milk Products is false, misleading, and fraudulent.



16
   For instance, on Walmart’s website, the Milk Products are sold alongside a description stating that Defendant
“insure[s] happy, healthy well-cared for animals, utiliz[ing] milking techniques that guarantee the cleanest milk.”
https://www.walmart.com/ip/Fair-Oaks-Dairy-Fair-Oaks-Milk-0-5-gl/144150915 (last accessed March 10, 2020).


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       40.      The claims of the named Plaintiff are typical of the claims of the Class in that the

named Plaintiff was exposed to Defendant’s false, misleading and misbranded labels, purchased

the Milk Products, and suffered losses as a result of those purchases.

       41.      Plaintiff is an adequate representative of the Class because her interests do not

conflict with the interests of the Class members she seeks to represent, she has retained

competent counsel experienced in prosecuting class actions, and she intends to prosecute this

action vigorously. The interests of Class members will be fairly and adequately protected by

Plaintiff and her counsel.

       42.      The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of the Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendant’s liability.          Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.

                                FIRST CLAIM FOR RELIEF
                                           Fraud
                (On Behalf of the Nationwide Class and the Indiana Subclass)

       43.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.




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       44.      Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendant.

       45.      As discussed above, Defendant made false and misleading Animal Welfare

Claims on the labels of its Milk Products, and failed to disclose material information about the

Milk Products, such as the fact that the milk is derived from cows that are systematically abused

and tortured.

       46.      The misrepresentations and omissions made by Defendant, upon which Plaintiff

and Class members reasonably and justifiably relied, were intended to induce and actually

induced Plaintiff and Class members to purchase Defendant’s Milk Products.

       47.      The fraudulent actions of Defendant caused damage to Plaintiff and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                               SECOND CLAIM FOR RELIEF
                   Violation Of The Indiana Deceptive Trade Practices Act,
                               Ind. Code Ann § 24-5-0.5-2 et seq.
                             (On Behalf Of The Indiana Subclass)

       48.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       49.      Plaintiff and Indiana Subclass members are “persons” within the meaning of Ind.

Code Ann. § 24-5-0.5-2.

       50.      As described supra, Defendant’s actions are “incurable deceptive acts” within the

meaning of Ind. Code Ann. § 24-5-0.5(2)(8) in that they were intended to mislead consumers.

       51.      Indiana’s Deceptive Trade Practices Act (“IDTPA”) prohibits “deceptive acts,”

which include representing (1) that a product “has sponsorship, approval, performance,

characteristics, accessories, uses, or benefits it does not have which the supplier knows or should

reasonably know it does not have, (2) that a product “is of a particular standard, quality, grade,


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style, or model, if it is not and if the supplier knows or should reasonably know that it is not,” (3)

and that a transaction “involves or does not involve a warranty, a disclaimer of warranties, or

other rights, remedies, or obligations, if the representation is false and if the supplier knows or

should reasonably know that the representation is false.”       Ind. Code Ann. § 24-5-0.5-3(b)(1),

(2), (8).

        52.     Defendant violated the IDPTA by representing that its Milk Products were

sourced from “happy, healthy, well-cared for animals.” Plaintiff and the Indiana Subclass

reasonably believed that the Milk Products were sourced from “happy, health’ well care for

animals” and were not sourced from cows subjected to torture and abuse.

        53.     As described supra, Defendant’s actions were willful.

        54.     Plaintiff and the Indiana Subclass seek damages up to the amount of treble

damages or $1,000 per occurrence, whichever is greater; an order enjoining Defendant’s unfair,

unlawful, and/or deceptive practices; reasonable attorneys’ fees; and any other just and proper

relief available under Ind. Code Ann. § 24-5-0.5-4.

                               THIRD CLAIM FOR RELIEF
                                     Unjust Enrichment
                (On Behalf of the Nationwide Class and the Indiana Subclass)
        55.     Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

        56.     Plaintiff brings this claim individually and on behalf of the members of the

proposed Classes against Defendant.

        57.     Plaintiff and the other members of the Class conferred benefits on Defendant by

purchasing Defendant’s Milk Products.

        58.     Defendant has been unjustly enriched by retaining the revenues derived from

Plaintiff and the other members of the Class’ purchase of the Milk Products. Retention of the

monies under these circumstances is unjust and inequitable because Defendant’s labeling of the


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Milk Products was misleading to consumers, which caused injuries to Plaintiff and the other

members of the Class because they would not have purchased the Milk Products if the true facts

were known.

       59.      Because Defendant’s retention of the non-gratuitous benefits conferred on them

by Plaintiff and the other members of the Class is unjust and inequitable, Defendant must pay

restitution to Plaintiff and the other members of the Class for their unjust enrichment, as ordered

by the Court.

                              FOURTH CLAIM FOR RELIEF
                                Negligent Misrepresentation
                (On Behalf of the Nationwide Class and the Indiana Subclass)

       60.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       61.      Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendant.

       62.      As discussed above, Defendant made false and misleading Animal Welfare

Claims on the labels of its Milk Products, such as the fact that the milk is derived from cows that

are systematically abused and tortured. At the time Defendant made these representations,

Defendant knew or should have know that these representations were false or made them without

knowledge of their truth or veracity.

       63.      The negligent misrepresentations and omissions made by Defendant, upon which

Plaintiff and Class members reasonably and justifiably relied, were intended to induce and

actually induced Plaintiff and Class members to purchase Defendant’s Milk Products.

       64.      The negligent actions of Defendant caused damage to Plaintiff and Class

members, who are entitled to damages and other legal and equitable relief as a result.




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                               FIFTH CLAIM FOR RELIEF
                                Breach of Express Warranty
                (On Behalf of the Nationwide Class and the Indiana Subclass)

       65.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       66.      Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendant.

       67.      In connection with the sale of the Milk Products, Defendant issued an express

warranty that Defendant “manage[s] the herd to ensure happy, healthy, well-cared for animals,

and utilize[s] milking techniques that guarantee the cleanest milk for our dairy products.”

       68.      Defendant’s affirmation of fact and promise on the Milk Products’ labels became

part of the basis of the bargain between Defendant and Plaintiff and Class members, thereby

creating express warranties that the Milk Products would conform to Defendant’s affirmation of

fact, representations, promise, and description.

       69.      As discussed above, Defendant breached its express warranty because it

systematically abused and tortured its milk cows. In short, the Milk Products do not live up to

Defendant’s express warranty.

       70.      Plaintiff and the Class members were injured as a direct and proximate result of

Defendant’s breach because: (a) they would not have purchased the Milk Products if they had

known the true facts; (b) they paid for the Milk Products due to the mislabeling of the Milk

Products; (c) they would not have purchased the Milk Products on the same terms if they had

known the true facts; (d) they paid a price premium for the Milk Products due to Defendant’s

false warranties and affirmations of fact; and (d) the Milk Products did not have the

characteristics or qualities as promised.




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       71.      Plaintiff provided Defendant with pre-suit notice of Defendant’s breach of

warranty on February 7, 2020.

                               SIXTH CLAIM FOR RELIEF
                      Breach of Implied Warranty of Merchantability
                (On Behalf of the Nationwide Class and the Indiana Subclass)

       72.      Plaintiff repeats the allegations contained in the paragraphs above as if fully set

forth herein.

       73.      Plaintiff brings this claim individually and on behalf of the members of the

Classes against Defendant.

       74.      The Indiana Uniform Commercial Code, § 26-1-2-314 provides that, unless

excluded or modified, a warranty that the goods shall be merchantable is implied in a contract for

their sale if the seller is a merchant with respect to goods of that kind. To be “merchantable,”

goods must, inter alia, “run, within the variations permitted by the agreement, of even kind,

quality and quantity within each unit and among all units involved,” “are adequately contained,

packaged, and labeled as the agreement may require,” and “conform to the promise or

affirmations of fact made on the container or label if any.”

       75.      In connection with the sale of the Milk Products, Defendant impliedly warranted

that Defendant “manage[s] the herd to ensure happy, healthy, well-cared for animals, and

utilize[s] milking techniques that guarantee the cleanest milk for our dairy products.”

       76.      Defendant was a merchant with respect to the goods of this kind which were sold

to Plaintiff and the Classes, and there was in the sale to Plaintiff and other consumers an implied

warranty that those goods were merchantable.




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       77.     However, Defendant breached its implied warranty because it systematically

abused and tortured its milk cows. In short, the Milk Products do not “conform to the promise or

affirmations of fact made on the container or label.”

       78.     Plaintiff and the Class Members were injured as a direct and proximate result of

Defendant’s breach because: (a) they would not have purchased the Milk Products if they had

known the true facts; (b) they paid for the Milk Products due to Defendant’s implied warranties;

(c) they would not have purchased the Milk Products on the same terms if they had known the

true facts; (d) they paid a price premium for the Milk Products due to Defendant’s implied

warranties; and (d) the Milk Products did not have the characteristics or qualities as impliedly

warranted.

       79.     Plaintiff provided Defendant with pre-suit notice of Defendant’s breach of

warranty on February 7, 2020.

                                        JURY DEMAND

       Plaintiff hereby demands a trial by jury.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff and the other Class members respectfully request that the Court:

       A.      Certify the Classes pursuant to Rule 23 of the Federal Rules of Civil Procedure;

       B.      Award damages, including compensatory, exemplary, statutory, incidental,
               consequential, actual, and punitive damages to Plaintiff and the Classes in an
               amount to be determined at trial;

       C.      Award Plaintiff and the Classes their expenses and costs of the suit, pre-judgment
               interest, post-judgment interest, and reasonable attorneys’ fees;

       D.      Grant restitution to Plaintiff and the Classes and require Defendant to disgorge
               their ill-gotten gains;

       E.      Permanently enjoin Defendant from engaging in the unlawful conduct set forth
               herein; and



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      F.     Grant any and all such other relief as the Court deems appropriate.

Dated: March 12, 2020                              Respectfully submitted,

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                                           *Admission Pro Hac Vice Pending

                                           Counsel for Plaintiff
                                           and The Proposed Putative Classes




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